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 UNITED STATES DISTRICT COURT                                 EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                          §
                                                   §
 versus                                            §           CASE NO. 1:12-CR-87(6)
                                                   §
 LUIS ALBERTO VELAZQUEZ                            §

          ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT

          After conducting a proceeding in the form and manner prescribed by Fed. R. Crim. P. 11,

 the Honorable Zack Hawthorn, United States Magistrate Judge, made and filed Findings of Fact

 and Recommendations regarding the Defendant’s plea of guilty to Count Two of the Superseding

 Indictment in the above-numbered case. The Magistrate Judge accepted the Defendant’s guilty

 plea, recommends that the Defendant be adjudged guilty of the offense to which he pleaded guilty,

 and recommends that the court conditionally accept the Defendant’s plea agreement pending

 review of the presentence report.

          The parties do not object to the Magistrate Judge’s findings and conclusions, and the Court

 is of the opinion that they should be and are ADOPTED. Further, the Court RATIFIES the

 Magistrate Judge’s acceptance of the guilty plea. Accordingly, it is ORDERED:

          1.     That the Defendant is adjudged GUILTY of the offense alleged in Count 2 of the
                 Superseding Indictment, a violation of 18 U.S.C. § 1956(h); and

          2.   The Court conditionally accepts the Defendant’s plea agreement pending review of
           .
               the presentence report.
          SIGNED at Beaumont, Texas, this 7th day of September, 2004.
          SIGNED at Beaumont, Texas, this 12th day of June, 2014.




                                            ________________________________________
                                                        MARCIA A. CRONE
                                                 UNITED STATES DISTRICT JUDGE
